Case 1:04-cr-00100-JJM-LDA Document 122 Filed 02/05/19 Page 1 of 3 PageID #: 1127




                IN THE DISTRICT COURT FOR THE UNITED STATES
                     FOR THE DISTRICT OF RHODE ISLAND


 UNITED STATES OF AMERICA                          )
                                                   )
              v.                                   )   CR. NO. 04 – 100 JJM
                                                   )
 JOEL FRANCISCO                                    )


            STIPULATION REGARDING MODIFICATION OF SENTENCE



       IT IS HEREBY STIPULATED AND AGREED, by and between the parties acting
 through their respective counsel, that:



       1.     Defendant has filed a Motion for Sentence Reduction pursuant to Section
              404 of the First Step Act of 2018.


       2.     Defendant’s original guideline calculation was as follows:
              Total Offense Level          38
              Criminal History Category VI
              360 months to LIFE imprisonment, with a statutory mandatory LIFE
              sentence as to Count 2
              8 years supervised release as to Count 1
              $ 25,000 to $ 12,000,000 fine.


       3.     The Court sentenced the Defendant on September 21, 2005 on Count 1 to
              180 months imprisonment, with eight years of supervised release. On
              Count 2 the Court imposed the statutory mandatory sentence of Life
              Imprisonment. While imposing this sentence, the sentencing court found
              that a sentence of 180 months was sufficient but not greater than necessary
              to satisfy all the sentencing factors under 18 USC 3553(a).
Case 1:04-cr-00100-JJM-LDA Document 122 Filed 02/05/19 Page 2 of 3 PageID #: 1128



       4.       Defendant is eligible for a modification of his sentence pursuant to section
                404 of the First Step Act.


       5.       Defendant’s revised guideline calculation and statutory mandatory
                minimums are as follows:

                Total Offense Level          32
                Criminal History Category VI
                210-262 months imprisonment
                8 years supervised release
                $ 35,000 to $ 16,000,000 fine.


       6.       A sentence of 180 months as to each count would be consistent with the
                sentencing court’s express intent at the original sentencing. Such a
                sentence would have resulted in a release date of December 11, 2017.


       7.       Based upon the foregoing, a total sentence of time served as to each count,
                with an eight year term of supervised release, concurrently on each count,
                is appropriate in this matter.


       8.       The defendant has no objections to the imposition of the following special
                conditions of supervised release;


            •   1. The defendant shall participate in a program of substance abuse
                   treatment (inpatient or outpatient), as directed and approved by the
                   Probation Office.
            •   2. The defendant shall participate in a program of substance abuse testing
                   (up to 72 drug tests per year) as directed and approved by the Probation
                   Office.
            •   3. The defendant shall contribute to the cost of all ordered treatment and
                   testing based on ability to pay as determined by the probation officer.
            •   4. If the defendant does not have an approved release plan, he shall spend
                   up to 120 days in a Residential Re-entry Center until he can obtain
Case 1:04-cr-00100-JJM-LDA Document 122 Filed 02/05/19 Page 3 of 3 PageID #: 1129



                 suitable housing approved by probation.


       9.     Defendant waives and does not request a hearing in this matter.


       10.    Accordingly, an amended judgment may be entered by the Court in
              accordance with the terms of this stipulation.




 Respectfully submitted,



 /s/Olin W. Thompson                                           2/5/19
 Olin W. Thompson                                      Date
 Assistant Federal Defender
 Counsel for Defendant



/s/Donald C. Lockhart                                          2/5/19
 Donald C. Lockhart                                    Date
 Assistant U.S. Attorney
